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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

(Greenbelt Division)
)
DEIAN STANKOV, )
)
Plaintiff, )
)
V` § Civil Action No.
PNC BANK, NATIONAL ASSOCIATION, )
)
Defendant. )
)
)
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NOTICE OF REMOVAL

Defendant PNC Banl<, National Association (“PNC”), by counsel, hereby provides notice
pursuant to 28 U.S.C. §§ 1332, 1441 and 1446 of the removal of the above-captioned case from
the Circuit Court for l\/lontgomery County, Maryland to the United States District Court for the
District of l\/iaryland. As grounds for removal, PNC states as follows:

BACKGROUND

l. On or about May 2, 2011, Plaintiff Deian Stankov (“Plaintiff”’) filed a Complaint
for Declaratory Judgrnent (“Cornplaint”) against PNC in the Circuit Court of Maryland for
Montgomery County (the “state court action”). A copy of the Complaint in the state court action
is attached as Exhibit A. The state court action Was assigned case number 347045V.

2. ln his Complaint, Plaintiff alleges that PNC breached a contract by initially
approving him for a trial plan under the Home Affordable l\/Iodiiication Prograrn (“HAl\/IP”) but
ultimately denying him a permanent loan modification Plaintiff also seeks a declaratory
judgment that he qualifies for a modification under HAMP.

3. To the best of PNC’s knowledge, service of process has not yet been made, and

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PNC is not in possession of any Writ of summons I-lowever, PNC became aware of the
Complaint on l\/lay 4, 2011.
DIVERSITY

4. This case is a civil action over which this Court has original jurisdiction pursuant
to 28 U.S.C. § 1332(a). The amount in controversy in this matter exceeds the sum of $75,000,
exclusive of interest and costs, and there is complete diversity of citizenship between the parties.

5. Plaintif`f seeks a judgment in the amount of $1,000,000.00 against PNC. See
Complaint, prayer for relief at p. 4. This amount in controversy clearly exceeds the $75,000
threshold for diversity jurisdiction

6. Plaintiff is a citizen of the state of Maryland for purposes of diversity jurisdiction
.See Complaint at ii l.

7. PNC is a nationai banking association with its principal place of` business in
Pennsylvania. Because Plaintiff is a citizen of Maryland, complete diversity exists in this action.
8. Venue is proper in this Court pursuant to 28 U.S.C. §§ 100(2) and 1441(a)

because the United States District Court for the District of Maryland, Greenbelt Division is the
federal judicial district and division embracing the state court in which this action was originally
filed.

PROCEDURAL COMPLIANCE

9. Removal of this action is timely. 28 U.S.C. § l446(b) provides that, “[t]he notice
of removal of a civil action or proceeding shall be filed within thirty days after the receipt by the
defendant, through service or otherwise, cfa copy of the initial pleading setting forth the claim
for relief upon which such action or proceeding is based,” See also Murphy Bros., Inc_ v.
Michetz‘z' Pz`pe Stringz`ng, Inc., 526 U.S. 344, 356 (1999) (deadline to remove runs from the date

on which the defendant is first served with a copy of the summons and complaint). ln this case,

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PNC became aware of the Complaint on May 4, 2011. This Notice of Removal is being filed
with the Court on June 2, 2011, i.e., within 30 days after PNC was served with the Cornplaint.

10. Attached to this Notice of Removal as Exhibit A is a copy of Plaintiff" s
Complaint, along with the exhibits accompanying the Complaint. The Complaint and exhibits
are the only “process, pleadings or orders” received by PNC in this action to date. See 28 U.S.C.
§ 1446(a).

11. PNC is serving upon plaintiff’ s counsel contemporaneously with this filing a copy
of this Notice of Removal.

12. No other defendants have been named in this action.

13. PNC Will also file with the Clerk for the state court a Notice of Filing ofNotice of
RetnovalJ as required by 28 U.S.C. § l446(d).

14. Bas_§d upon the foregoing, this Court has jurisdiction over this matter pursuant to
28 U.S.C. § 1332(a). AccordinglyJ this action is properly removed to this Court.

15. ln removing this action to federal court, PNC expressly reserves, and does not
waive, any and all rights and defenses that it has or may have.

WHEREFORE, Defendant PNC hereby gives notice that the state court action is removed

to this Court.

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Respectfully submitted,

June 2, 2011 /s/ Daniel J. Tobin
Daniel J. 'l`obin (Bar No. 10338)
Hillary G. Benson (Bar No. 17254)
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bensonh@ballardspahr.com

- Arromeysfor PNC Barzk, National Associarion '

CERTIFICATE OF SERVICE

This is to certify that on this 2nd day of June, 2011, l caused a true and correct copy of
the foregoing Notice of Removal to be served via first-class mail, postage prepaid, upon the
following:

Irwin H. Liptz

Leonard J. Koenick

Kivitz & Liptz, LLC

7979 Old Georgetown Road, Suite 750

Bethesda, MD 20814

Counselfor Plaintijj”

/s/ Daniel J. Tobin
Daniel J. Tobin

D|V|EAST #13673438 V‘i

